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 8                              UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10     HIGHFIELDS CAPITAL I LP, et al.,                Case No.: 18-cv-1276-MMA-AGS
11                                      Plaintiffs,
                                                       ORDER GRANTING IN PART AND
12     v.                                              DENYING IN PART JOINT MOTION
                                                       TO AMEND THE PRETRIAL
13     SEAWORLD ENTERTAINMENT,
                                                       SCHEDULING ORDER (ECF 121)
       INC., et al.,
14
                                      Defendants.
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16           The Court grants in part and denies in part the parties’ joint motion to amend the
17     pretrial scheduling order. The new dates are:
18
                             Event                                  Deadline
19          Conduct depositions of previously
                                                                January 29, 2021
20          noticed/subpoenaed individuals or entities
            Expert Witness Designations and
21                                                               March 12, 2021
            Disclosures
22          Rebuttal Expert Witness Designations and
                                                                  April 23, 2021
            Disclosures
23
            Expert Discovery Completion                            June 4, 2021
24          MSC Statements                                        June 21, 2021
25          Mandatory Settlement Conference                 June 28, 2021, at 9:00 a.m.
26          Pretrial Motions and Daubert Motions                 August 13, 2021
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28


                                                                               18-cv-1276-MMA-AGS
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 1           This order only modifies the dates in the scheduling order (ECF 63); all other
 2     provisions of that order remain in effect.
 3     Dated: November 6, 2020
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